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                EXHIBIT B
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                                       Joint Property Inspection
                                  1405 North Olive Way, Meridian, ID


Date: 10/19/2023

Representing Tenant: Mac Jones

Representing Landlord: Dan Temkin

The following deferred maintenance items were noted:

Warehouse

•   25 overhead doors – bottom panels damaged
•   Task lights were removed at all loading positions
•   Overhead door at loading position 24 is off its track
•   Metal siding damage above headers at loading positions 4, 6 and 8
•   Pressure wash all overhead doors

Office

•   South dispatch office - recessed light fixture not properly seated and ceiling tile damaged
•   General office area – VCT flooring is damaged and stained in numerous locations
•   Ceiling tiles in numerous locations throughout office are damaged from roof leaks

Yard/Exterior

•   Perform asphalt crack sealing throughout the yard area as needed
•   Grass needs to be mowed
•   Weeds need to be cleared in unimproved portion of property
•   Some pole-mounted yard lights reportedly not working (unable to verify during daylight hours)
•   Underground water leak observed southeast of fuel island building (water bubbling to surface)
•   Hazardous materials in and around fuel island building need to be disposed of
•   All debris to be removed from property

(SEE ACCOMPANYING PHOTOS)
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BOTTOM PANEL DAMAGE TO ALL OVERHEAD DOORS
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TASK LIGHTS REMOVED FROM ALL LOADING POSITIONS




OVERHEAD DOOR OFF TRACK AT LOADING POS NO. 24
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METAL SIDING DAMAGED AT LOADING POS 4, 6 AND 8
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VCT FLOORING STAINED AND DAMAGED




VCT FLOORING STAINED AND DAMAGED




LIGHT FIXTURE IN DISPATCH OFFICE NOT PROPERLY SEATED
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STAINED CEILING TILES THROUGHOUT OFFICE AREA




UNDERGROUND WATER LEAK
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HAZARDOUS MATERIALS TO BE REMOVED FROM PROPERTY




ALL DEBRIS TO BE REMOVED FROM PROPERTY
